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                                       Agonafer Shiferaw
                                       Managing Director
                             Fillmore Entertainment Complex, LLC.




May 22, 2015



Mr. Theo Miller
City and County of San Francisco
City Hall
1 Dr. Carlton B. Goodlett Place
San Francisco, California 94102

Re: 1300-1330 Fillmore Street-Fillmore Heritage Center Property

Dear Mr. Miller:

As you are aware, Mr. Michael E. Johnson and I have been in negotiation in regards to the
Fillmore Heritage facility. We have reached an agreement that requires that I negotiate with the
City of San Francisco on the terms and conditions under which I can acquire the property. By
this letter, I am requesting to start the dialogue with your office and other parties involved to
accomplish the task.

Please review the following documents and planned activities for further discussion and
clarification.

    1. Attached you will find an executed and signed copy of the Letter Oflntent (LOI)
       between Mr. Michael E. Johnson (FDC) and Agonafer Shiferaw Managing Director for
       Fillmore Entertainment Complex, LLC.

   2. A copy of the Fillmore Entertainment Complex, LLC business retention, development
      and real estate acquisition plan for the Fillmore Jazz Heritage Center Complex which I
      assume you already have.

   3. Commercial Purchase Agreement for the facility, purchase price, time frame to close
      escrow, deposit , and terms and conditions to complete the transaction.

   4. A strategic plan to bring intemationally recognized financially viable club operators,
      restaurateurs , large bakery/cafe operators or sports bar operators to take over the old
      Yoshi's/Addition Club and Restaurant once our proposal is accepted by the City of San
      Francisco.




                                Telephone Number: 415-290-5299
                                Email Address: Agonafer@att.net
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                                        Agonafer Shiferaw
                                        Managing Director
                              Fillmore Entertainment Complex, LLC.




      5. Operation of the facility will begin with new operators/tenants within six months of
         acceptance of the proposal.

Please respond to the offer , as soon as possible since time is of the essence in this transaction.




Cc:

         The Honorable Board of Supervisor's President
         London Breed

         The Honorable Supervisor
         Malia Cohen

         City of San Francisco
         Naomi Kelly, Administrator

         Office of Community Investment and Infrastructure
         Tiffany Bohee, Executive Director

         Mayor's Office of Housing
         Olson Lee, Director

         NAACP
         Rev. Dr. Amos Brown, President

          African American Chamber of Commerce
          Fred Jordan, President




                                  Telephone Number: 415-290-5299
                                  Email Address: Agonafer @att.net
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                       Fillmore Development Commercial, LLC
                            4096 Piedmont Avenue, Suite 313
                                   Oakland, CA 94611

May 15, 2015

Mr. Theo Miller
Mayor's Office - City of San Francisco
San Francisco, CA

Re: 1300 - 1330 Fillmore Street - Fillmore Heritage Center Property

Dear Mr. Miller:

As a follow-up to the meetings with you, please find attached an executed Letter of Intent
between FDC and the Agonafer Shiferaw's group - Fillmore Entertainment Complex, LLC. This
LOI provides that over the next 90 days we will finalize the agreements with his group.

The primary aspects of the LOI related to curing the default currently by FDCare that the his
group will take over a majority interest in FDC,serve as the new Manager for FDC,and infuse
capital to payoff repay the existing $5.0 million HUD Section 108 loan. There will also be
sufficient capital also to negotiate payment of delinquent CAM,property taxes, and certain
other delinquencies based on negotiations with the City that also include negotiating acceptable
terms for the ground lease and the future of parking lot. All of these issues are to be addressed
in detail with resolution within the first 30 days of the LOI period.

His group will also negotiate with FDC and arrange the purchase of certain assets from FLEG
operating entity such as the liquor license and certain FF&E that are currently secured by CBT
and SBA/Key Bank. Additionally is also committed to capitalizing the new entertainment venue
adequately for leasehold improvements.

Over the next 90 days his group and FDC will refine the concepts for a new tenant/operator    in
the space to be presented to the City and the community.

 Both Mr. Shiferaw's group and the newly organized FDCare committed to being an asset to the
 community. The lease with 1300 will be reviewed to help insure their continued economic
 viability. FDCwill also work with representatives of the community to see which programs
 such as: scholarships and internships, access to the performing and other spaces at special
 rates, training programs and others community benefits that can be achieved.

 We look forward to your acceptance of this approach for moving forward to make this property
 an asset within the Fillmore community. Pleas e let us know any questions you have.




 Michael E. Johnson                                Steve Mayer
 Manager                                           Member
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                                                    FillmoreEntertainmentComplex,LLC




                                                      Agonafer Shiferaw I Managing Director
                                                                        1330 Fillmore Street
                                                            San Francisco,California 94115

                                                            Emai l Address: Agonafer@att.net
                                                           Telephone Number: 415-290-5299



                                               Letter of Intent Prepared by Agonafer Shiferaw
                                                                         Submitted: May 2015
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1. Fillmore Entertainmen t Comp lex, LLC with Agonafer Shiferaw ("AS") as Managin g
   Director will purchase a controlling interest within the Fillmore Development Commercial,
   LLC owned by Em Johnson, Inc., SN Fillmore, LLC and MDI, LLC, and become the
   Managing Member of FDC, the terms of which will be negotiated and finalized within the 90
   day due diligence period.

2. Total Capitalization will be $6,400,000.00.

3. Fillmore Entertainment Complex , LLC or AS will pay off the $5,000,000 HUD Section 108
   loan, to the City and County of San Francisco, at the close of escrow.

4. Fillmore Entertainment Comp lex, LLC or AS will provide $1,000,000 to address the
   following unpaid obligations of Fillmore Live Entertainment Group, LLC, including the
   purchase the existing furniture, fixtures and equipment.

       •   Payment of the $22,000 PGE Bill to reimburse the City
       •   California Bank & Trust: TBD
       •   SBA Loan: TBD
       •   Unpaid property taxes: $150,000.00
       •   Unpaid CAM charges: TBD
       •   Purchase of the liquor license
       •   The Grand Piano
       •   Existing kitchen, bar, club and restaurant equipment.

5. Fillmore Entertainment Complex, LLC or AS would arrange financing to pay off the City
   loan of $5,000,000.00 within 120 days , including a 90-day due diligence period.

6. Fillmore Entertainment Complex, LL C or AS would deposit to escrow , $1,000,000 .00, to
   satisfy current obligation s.

7. Fillmore Entertainment CoD:1plex,LLC or AS will negotiatewith the City on the other issues,
   including the Ground Lease.

8. Fillmore Entertainment Complex, LLC or AS will also negotiate with SN Fillmore to satisfy
   the terms of their outstanding loan to FDC. Additionally, SN Fillmore has the right to
   approve of the sale of interest by Em John son Interest, Inc. within FDC .
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 Letter of Intent to Purchase 1300-1330 Fillmore Street Facility, San Francisco , 94115      Page 3
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9. Fillmore Entertainment Complex, LLC or AS will present to the City internationally
   recognized financially viable club operators , restaurateurs , large bakery/cafe operators or
   sports bar operators , or other tenants to be determined who will take over the old
   Yoshi's/Addition Club and Restaurant once the letter of intent is signed off.

10. Fillmore Entertainment Complex, LLC or AS would negotiate a new lease with 1300
    Fillmore Street.

11. Fillmore Entertainment Complex , LLC or AS will create a community benefit fund to ensure
    community participation.

12. This Letter oflntent is effective as of the date of signature, and is non-binding on either
    party, and is not exclusive during the 90 day due diligence period .

    Please indicate your acceptance by signing below.




         'F~mmercial
            Michael E. Johnson , President



                ~ l       Date                                          Date
